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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )
vs.                                            )
                                               )
Jacob Chansley                                 )
                                               )       Cause No.: 1:21-cr-00003
         Defendant                             )
                                               )
                                               )
                                               )

                            DEFENDANT’S MOTION TO DISMISS
                            COUNT TWO OF THE INDICTMENT


 TO THE HONORABLE ROYCE LAMBERTH, UNITED STATES DISTRICT JUDGE FOR
                    THE DISTRICT OF COLUMBIA:
         COMES NOW JACOB CHANSLEY, the Defendant in the above styled and

numbered cause, by and through undersigned counsel, and, pursuant to Rules 7(c)(1)

and 12(b)(3)(B) of the Federal Rules of Criminal Procedure, the Fifth and Sixth Amendments to

the United States Constitution, and the authority discussed in his memorandum to this motion,

moves this Court to enter an order dismissing Count Two of the Indictment in this case. In

support thereof, he would show the following.

      1. Court Two of the indictment against Mr. Chansley alleges that on or about January 6,

         2021, he “attempted to, and did, corruptly obstruct, influence, and impede an official

         proceeding, that is, a proceeding before Congress, by entering and remaining in the

         United States Capitol without authority and committing an act of civil disorder and

         threatening Congressional officials, and unlawfully remaining in a restricted building

         without lawful authority and engaging in disorderly and disruptive conduct” in violation

         of 18 U.S.C. §§ 1512(c)(2) and 2.



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   2. Count Two must be dismissed as this allegation fails to state an offense, fails to

       provide Mr. Chansley with adequate notice of what he is charged with, and does not

       ensure that a grand jury has found sufficient evidence of the necessary elements of

       the offense in violation of Rule 7(c)(1) of the Federal Rules of Criminal Procedure,

       and the Fifth and Sixth Amendments to the United States Constitution. More

       specifically, the indictment fails to state what “official proceeding” and, even more

       specifically, what “proceeding before Congress” Mr. Chansley allegedly obstructed.

       This is a critical issue in this case because 18 U.S.C. § 1512(c) only prohibits

       obstruction of an “official proceeding” related to the administration of justice before a

       tribunal and not any and all governmental functions such as legislative action by

       Congress. See United States v. Ermoian, 752 F.3d 1165, 1172 (9th Cir. 2013).

       WHEREFORE, PREMISES CONSIDERED, Mr. Chansley respectfully requests this

Honorable Court dismiss Count Two of the indictment against him and permit him leave to

amend and supplement this motion at a later date, if needed.

Date: June 29, 2021                          Respectfully Submitted,

                                             KODNER WATKINS

                                             By:_/s/ Albert S. Watkins_______
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                                CERTIFICATE OF SERVICE

       Signature above is also certification that on June 29, 2021, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF system
which will send notification of such filing to all parties of record.


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